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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

C.A. NO. 1:20-CV-10178-IT

 

SHARON RADFAR,
Plaintiff,

Vv.

CITY OF REVERE; BRIAN M. ARRIGO,
MAYOR; JAMES GUIDO, CHIEF OF
POLICE; SERGEANT JOSEPH I. COVINO;
and OTHER YET UNNAMED OFFICERS
OF THE REVERE POLICE DEPARTMENT,
individually and in their capacities as Mayor,
Chief of Police, Police Sergeant, and Officers
of the City of Revere,

Defendants.

Nome” mee” Smee” See” ee” “meme” Sateen Smee Nee ere Smee ee ee” ee”

 

DEFENDANTS, CITY OF REVERE, BRIAN M. ARRIGO,
AND JAMES GUIDO’S, MOTION TO DISMISS

The Defendants, City of Revere (“City”), Mayor Brian M. Arrigo (“Arrigo”), and former
Chief of Police James Guido (“Guido”) (collectively “Municipal Defendants”), respectfully
request, pursuant to Fed. R. Civ. P. 12(b)(6), that the Court dismiss so much of Plaintiff's
Complaint as is directed to them, including the claims against Arrigo and Guido in their
individual capacities, for the reasons set forth below.

I. OVERVIEW OF THE COMPLAINT

In her Complaint, filed on January 29, 2020, Plaintiff alleges the following: On January
31, 2017, Plaintiff was served with an Abuse Prevention Order obtained ex parte by Covino in
the Lynn District Court, and was also given a letter from her employer suspending her pending

an investigation of criminal charges alleged against her by Covino. Her service weapons were
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also seized.’ (Complaint, J 6). In obtaining the order Covino misrepresented calls and messages
he and Plaintiff had exchanged, failed to disclose pertinent information, and made false and
misleading claims that Plaintiff had threatened him and placed him in imminent fear of physical
harm when in fact she had done nothing of the kind. (/d. § 7). In filing the Complaint for
Protection from Abuse and supporting affidavit, both of which contained false and misleading
claims about Plaintiff, Covino acted in concert and with the advice of unnamed Revere Police
officers. (/d. § 8). Covino called Plaintiff's employer, making the same false and misleading
claims, causing Plaintiff's employer to suspend her, open an investigation, and seek criminal
charges against her. (/d. § 9). Covino relentlessly pursued criminal charges against Plaintiff
though he knew she had committed no crime and that the charges and claims were false, and
continued those efforts for months after the Lynn District Court vacated the Abuse Prevention
Order and ordered the return of Plaintiff's service weapons two weeks after the Order was
issued. (/d. J 10-11). Covino falsely and maliciously accused Plaintiff of a crime he knew she
did not commit and, acting under color of law, drafted a Revere Police Department incident
report making his false claims, listing himself as victim, reporting officer, and supervisor
approving the report. (/d § 12). His efforts to have Plaintiff charged criminally included
making false statements to Virginia investigators and failing to inform them that the restraining
order had been vacated. (/d. ] 17). Despite these efforts, Plaintiff was not charged with any

crime in Virginia or Massachusetts. (/d. § 16).*

 

' It is undisputed that at the time Covino sought the Abuse Prevention Order against her Plaintiff
was employed as a police officer with the George Mason University Police Department in which
capacity she was issued and possessed at least one firearm.

? Plaintiff does not allege that Covino committed any domestic abuse against her, but only that
Covino falsely accused her of abusing him.
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Broadening her allegations to include the City, Arrigo, and Guido, Plaintiff claims that
those parties knew that Plaintiff was not the perpetrator of domestic abuse against Covino and
that he was thus wrongfully trying to have Plaintiff criminally charged and cause the loss of her
career and destroy her life. (/d. { 13). They also knew of Covino’s lengthy history of
misconduct and failed to train, discipline, or properly supervise him. (/d.). Plaintiff alleges that
the Defendants’ misconduct caused Plaintiff the loss of her job and her private telephone records
to be the subject of a search warrant in which a court in the jurisdiction where she worked as a
police officer received the “smears” that had been leveled against her. (Jd. 4] 14-15). Plaintiff
claims that all of the Defendants treated her differently from others similarly situated due to her
gender and national origin. (/d. { 18). Finally, Plaintiff alleges that the City, Arrigo, Guido, and
unnamed officers all engaged in a custom and policy of failing to train and discipline officers in
providing proper responses to domestic abuse and protection of constitutional rights, and of
protecting men who are members of the law enforcement fraternity from the consequences of
violating the law, and showed deliberate indifference to the need for training, supervision, or
discipline of Covino and other unnamed officers. (/d. $9 21-23).

On the basis of these allegations, Plaintiff asserts ten counts in her Complaint: (1)
violation of her rights to equal protection under the Fifth and Fourteenth Amendments of the
United States Constitution; (2) selective prosecution and enforcement of the law due to gender
and national origin bias; (3) defamation; (4) deprivation of her rights under the Massachusetts
Civil Rights Act; (5) intentional infliction of emotional distress; (6) “deliberate indifference to
the need for training;” (7) conspiracy to violate her civil rights under 42 U.S.C. § 1985(2)&(3);
(8) “refusal to prevent wrongs committed against Plaintiff” under 42 U.S.C. § 1986: (9) abuse of

process; and (10) malicious prosecution. Though it is unclear, the Municipal Defendants treat all
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but the last two counts (abuse of process and malicious prosecution) as being directed against
them.?

The Defendants Arrigo and Guido are sued both individually and in their official
capacities. (Complaint at J 1 - Caption). To the extent they are sued in their official capacities,
Plaintiff's claims against them are tantamount to claims against the City itself. Brandon v. Holt,
469 U.S. 464, 472 (1985); Kentucky v. Graham, 473 U.S. 159, 166 (1985) (“As long as the
government entity receives notice and an opportunity to respond, an official capacity suit is, in
all respects other than name, to be treated as a suit against the entity.”); Saldivar v. Pridgen, 91
F. Supp. 3d 134, 137 (D. Mass. 2015) (“Under both Massachusetts and federal law, a claim
against a chief of a municipal police department in his official capacity is a claim against the
municipality itself.”). Thus, the arguments set forth below on behalf of the City apply equally to
Arrigo and Guido in their official capacities.

Il. ARGUMENT

Plaintiff's Complaint fails to state claims upon which relief can be granted against the
City of Revere and Arrigo and Guido, both in their official and individual capacities, for multiple
reasons as discussed below.

A. Plaintiff Fails to State Claims Under 42 U.S.C. § 1983

Plaintiff asserts three federal civil rights claims against the Municipal Defendants: (1)
violation of her rights to equal protection (Count I); (2) selective prosecution and enforcement

due to gender and national origin bias (Count II); and (3) deliberate indifference to the need for

 

> This is one of two known cases in which a male police officer who had been involved in a
personal relationship with Plaintiff sought an abuse prevention order against her for protection
from her alleged stalking and harassing behavior, as a result of which Plaintiff sued him and his
employer for violation of her civil rights. In the other case, Radfar v. Crowley et al. (D. Mass.
No. 1:20-cv-12151-RWZ), filed on December 2, 2020, and in which Plaintiff is represented by
the same attorney as in the instant case, Plaintiff makes similar allegations and largely identical
claims against Brockton police officers, the Brockton Chief of Police, and the City of Brockton.

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training, supervision, and discipline (Count VI). All three claims rest on nothing more than
conclusory statements adorned with constitutional labels, which are not entitled to be accepted as
true when evaluating the sufficiency of the allegations on a motion to dismiss for failure to state
a claim.

i Standard for Reviewing Adequacy of Complaint on a Rule 12(b)(6) Motion

In Ashcroft v. Iqbal, 556 U.S. 662 (2009), the Supreme Court revisited the requirement of
Fed. R. Civ. P. 8(a)(2) that a pleading contain a “short and plain statement of the claim showing
that the pleader is entitled to relief.” Reiterating what it had recently stated in Bell Atl. Corp. v.
Twombly, 550 U.S. 544 (2007), the Court explained that while the pleading standard of Rule 8
does not require detailed factual allegations, it demands more than “an unadorned, the-defendant-
unlawfully-harmed-me accusation[,] [and a] pleading that offers labels and conclusions or a
formulaic recitation of the elements of a cause of action will not do.” Ashcroft, 556 U.S. at 678
(internal citations and quotation marks omitted). In other words, the factual allegations of the
complaint must “possess enough heft” to set forth “a plausible entitlement to relief.” Gagliardi
v. Sullivan, 513 F. 3d 301, 305 (1st Cir. 2008) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,
557 (2007)). The Court explained that two “working principles” underlied its decision in
Twombly. The first was that the tenet that a court must accept as true all of the allegations in a
complaint does not extend to legal conclusions: “Threadbare recitals of the elements of a cause
of action, supported by mere conclusory statements, do not suffice.” Ashcroft, 556 U.S. at 678.
The second was that, in evaluating whether a complaint states a plausible claim for relief, a
reviewing court must undertake a “context-specific” task, drawing on its judicial experience and

common sense. Where the well-pleaded facts permit the court to infer no more than the mere
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possibility of misconduct, the complaint has failed to show that “the pleader is entitled to relief,”
and the complaint is subject to dismissal. /d. at 679; Saldivar v. Pridgen, 91 F. Supp. 3d at 137.

The Court then invited courts considering a motion to dismiss to implement the “two-
pronged approach” illustrated in Twombly by first identifying the allegations in the complaint
that are no more than conclusions, and thus not entitled to be accepted as true, and then
determining whether, assuming the truth of any remaining well-pleaded factual allegations, they
give rise to a plausible claim for relief. Ashcroft, 556 U.S. at 679; Richmond v. Peraino, 128 F.
Supp. 3d 415, 417 (D. Mass. 2015) (To survive a motion to dismiss under Rule 12(b)(6) . . . “a
complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is
plausible on its face.”” (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

“Moreover, each defendant’s role [in the alleged constitutional violation] must be
sufficiently alleged to make him or her a plausible defendant. After all, ‘we must determine
whether, as to each defendant, a plaintiff's pleadings are sufficient to state a claim on which
relief can be granted.’” Ocasio-Hernandez v. Fortuno-Burset, 640 F. 3d 1, 16 (1st Cir. 2011)
(emphasis in original) (quoting Sanchez v. Pereira-Castillo, 590 F. 3d 31, 48 (2009) (emphasis in
original)). Also, “§ 1983 liability cannot rest solely on a defendant’s position of authority.”
Ocasio-Hernandez, 640 F. 3d at 16.

Applying these principles to the instant case, it is obvious that the Complaint fails to state
viable claims against the Municipal Defendants for violation of rights under 42 U.S.C. § 1983.

2. Equal Protection (Counts I & ID)

Plaintiff alleges in Counts I and II of her Complaint, respectively, that the Defendants (1)
violated her right to the equal protection of the laws by “endeavor[ing] to assist Covino in

obtaining an advantage over her in his civil proceedings initiated maliciously and as an abuse of
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process” (Complaint, §] 27) and (2) “repeated selective enforcement of the law for the benefit of
Covino and as his agents violated Plaintiffs rights to equal protection of the laws.”

To establish an equal protection claim, a plaintiff must adduce sufficient evidence from
which a rational jury reasonably could conclude that, “compared to others similarly situated, [he]
was selectively treated . . . based on impermissible considerations such as race, religion, intent to
inhibit or punish the exercise of constitutional rights, or malicious or bad faith intent to injure a
person.” Tapalian v. Tuniso, 377 F. 3d 1, 5 (1st Cir. 2004) (quoting Barrington Cove Ltd. P’ship
v. RI. Hous. and Mortgage Fin. Corp, 246 F. 3d 1, 7 (1st Cir. 2001)). To the extent Plaintiff's
claim rests on the malicious or bad faith prong, she “must establish more than that the
government official’s actions were arbitrary or erroneous; instead, the plaintiff must establish
that the defendant’s actions constituted a ‘gross abuse of power.”” Tapalian, 377 F. 3d at 5-6
(quoting Baker v. Coxe, 230 F. 3d 470, 474 (1st Cir. 2000)). A selective prosecution claim under
§ 1983 is a species of equal protection violation, Wentworth Precious Metals, LLC v. City of
Everett, No. 11-10909-DPW, 2013 WL 441094, at *8 (D. Mass. Feb. 4, 2013). To establish the
selective treatment, a plaintiff “must first identify and relate specific instances where persons
situated similarly in all relevant aspects were treated differently, [and] which have the capacity to
demonstrate that [plaintiffs] were singled . . . for unlawful oppression.” Jd. (quoting Rubinovitz
v. Rogato, 60 F. 3d 906, 909-10 (1st Cir. 1995)),

It is well settled that a municipality cannot be held liable under § 1983 based solely on a
respondeat superior theory. Monell v. Department of Soc. Serv., 436 U.S. 658, 691 (1978). In
announcing that a local government cannot be sued under § 1983 for alleged wrongdoing
inflicted solely by employees or agents, the Supreme Court in Monei/ concluded that a

municipality can be liable under § 1983 only where the plaintiff proves that an official
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government policy or custom directly caused the alleged constitutional violation. Jd at 694. A
plaintiff who brings a § 1983 action against a municipality bears the burden of showing that,
“through its deliberate conduct, the municipality was the ‘moving force’ behind the injury
alleged.” Haley v. City of Boston, 657 F. 3d 39, 51 (1st Cir. 2011) (quoting Board of Chy.
Comm'rs of Bryan Cty., Okla. v. Brown, 520 U.S. 397, 404 (1997) (emphasis in original)). A §
1983 claim against a municipality based on a theory of municipal policy is viable only where the
alleged unconstitutional action “implements or executes a policy, statement, ordinance,
regulation, or decision officially adopted and promulgated by the body’s officers.” Chapman v.
Finnegan, 950 F. Supp. 2d 285, 293 (D. Mass. 2013) (quoting Monell, 436 U.S. at 690).
Similarly, to establish a § 1983 claim against a municipality on a theory of municipal custom, a
plaintiff must demonstrate a practice by city officials that is so “well settled and widespread that
the policymaking officials of the municipality can be said to have either actual or constructive
knowledge of it yet did nothing to end the practice. /d. (citing Bordanaro v. McLeod, 871 F. 2d
1151, 1156 (1st Cir. 1989)).

Here, Plaintiffs Complaint is devoid of any facts supporting the assertion that any
municipal policy or custom caused her to be treated differently from other similarly situated
persons in connection with the abuse prevention proceedings initiated against her by Covino or
his other alleged misconduct, or that by its deliberate conduct the City was in any way the
moving force behind any such constitutional violations. Likewise, the Complaint fails to identify
specific instances where persons similarly situated to Plaintiff were treated differently, thus
demonstrating that Plaintiff was singled out. Also absent are any facts explaining Arrigo or
Guido’s role in the alleged constitutional violation sufficient to make them plausible defendants.

Plaintiff's allegations that “Defendants treated Plaintiff differently from others similarly situated
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for impermissible reasons” (Complaint, § 18), and that the City, Arrigo, Guido, and unnamed
officers “engaged in a custom and policy of failing to train and discipline officers in providing
proper responses to domestic abuse and protection of constitutional rights . . . and of protecting
men who are members of the law enforcement fraternity from the consequences of violating the
law . . . and showed a deliberate indifference to the need for training, supervision, or discipline of
Defendant Covino and Other Unnamed Officers” (Complaint §§ 21-23) are merely formulaic
recitations of the elements of a cause of action that are not entitled to be accepted as true in
evaluating the sufficiency of this claim on a Rule 12(b)(6) motion. Implementing the “two-
pronged” approach set out in Twombly and disregarding these conclusory assertions, the
remaining allegations of the Complaint fail to give rise to a plausible claim for relief against the
City of Revere or Arrigo and Guido in their individual capacities for violation of Plaintiff's right
to equal protection.

Je Deliberate Indifference to Need for Training (Count VI)

a. Against the City

In Count VI of her Complaint, Plaintiff alleges that the injuries she suffered as a result of
Covino and Other Unnamed Officers’ misconduct was caused by the Municipal Defendants’
“deliberate indifference to the need for training, supervision and discipline of Defendants Covino
and Other Unnamed Officers.” (Complaint, { 43).

“The liability criteria for ‘failure to train’ claims are exceptionally stringent.” Hayden v.
Grayson, 134 F, 3d 449, 456 (1st Cir. 1998). Municipal liability on a claim of failure to train
requires a showing that the municipal decisionmakers “knew or should have known that training
was inadequate but nonetheless exhibited deliberate indifference to the unconstitutional effects

of those inadequacies.” Aldrich v. Town of Milton, 881 F. Supp. 2d 158, 171 (D. Mass. 2012). A
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municipality can be held liable for a failure to train police officers only when the failure amounts
to deliberate indifference to the rights of persons with whom the police come into contact, and is
closely related to, i.e., the moving force behind, the constitutional injury. City of Canton v.
Harris, 489 U.S. 378, 388 (1989). Thus, a plaintiff asserting a claim of failure to train must
prove both (1) that the municipality was deliberately indifferent to the need to train and (2) that
the lack of training actually caused the constitutional violation in question. Connick v.
Thompson, 563 U.S. 51, 61-62 (2011). Addressing the parameters of a failure to train claim in
Connick, the Supreme Court explained:

In limited circumstances, a local government’s decision not to train
certain employees about their legal duty to avoid violating citizens’
rights may rise to the level of an official government policy for
purposes of § 1983. A municipality’s culpability for a deprivation
of rights is at its most tenuous where a claim turns on a failure to
train. To satisfy the statute, a municipality’s failure to train its
employees in a relevant respect must amount to deliberate
indifference to the rights of persons with whom the [untrained
employees] come into contact. Only then can such a shortcoming
be properly thought of as a city policy or custom that is actionable
under § 1983.

Deliberate indifference is a stringent standard of fault, requiring
proof that a municipal actor disregarded a known or obvious
consequence of his action. Thus, when city policymakers are on
actual or constructive notice that a particular omission in their
training program causes city employees to violate citizens’
constitutional rights, the city may be deemed deliberately
indifferent if the policymakers choose to retain that program. The
city’s policy of inaction in light of notice that its program will
cause constitutional violations is the functional equivalent of a
decision by the city itself to violate the Constitution. A less
stringent standard of fault for a failure-to-train claim would result
in de facto respondeat superior liability on municipalities.

A pattern of similar constitutional violations by untrained
employees is ordinarily necessary to demonstrate deliberate
indifference for purposes of failure to train.

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Connick, 563 U.S. at 61-62 (2011) (internal citations and quotation marks omitted); Aldrich, 881
F. Supp. 2d at 171.

Apart from a dearth of facts suggesting that the City knew or should have known that
relevant training was inadequate, yet was deliberately indifferent to the consequences of those
inadequacies, since Plaintiff alleges that Covino acted intentionally in falsely accusing her of
abusing him in obtaining the Abuse Prevention Order against her, the City’s failure to train
Covino with respect to responding to domestic abuse cannot be considered the moving force
behind the alleged violation of Plaintiffs rights. See Connick, 563 U.S. at 59 n.5 (questioning
whether causation could be proved where the misconduct that was claimed could have been
avoided by proper training was done intentionally); Hayden v. Grayson, 134 F. 3d at 457 n.14
(Ist Cir. 1998) (no showing that whatever training was not provided to Grayson could have
thwarted purposeful discrimination). Moreover, Plaintiff fails to allege the requisite pattern of
constitutional violations. Swain vy, Spinney, 117 F. 3d 1, 11 (1st Cir. 1997) (lack of notice of
prior constitutional violations defeats failure-to-train claim).

b. Against Arrigo and Guido

Absent participation in the alleged conduct, a supervisor may be held liable for
constitutional violations only when “(1) the behavior of [his] subordinates results in a
constitutional violation and (2) the [supervisor’s] action or inaction was affirmative[ly] link[ed]
to the behavior in the sense that it could be characterized as supervisory encouragement,
condonation or acquiescence or gross negligence [of the supervisor] amounting to deliberate
indifference.” Chapman yv. Finnegan, 950 F. Supp. 2d 285, 294 (D. Mass. 2013) (quoting
Pineda v. Toomey, 533 F. 3d 50, 54 (1st Cir. 2008)). A plaintiff must show a causal link

between the supervisor’s conduct and the subordinate’s violative act or omission. Chapman, 950

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F. Supp. 2d at 294. Causation may be satisfied if the supervisor knew of, overtly or tacitly
approved of, or purposely disregarded the conduct, and may also be satisfied by a showing of a
long history of widespread abuse sufficient to alert a supervisor to ongoing problems, and the
supervisor fails to take corrective action. /d.

Here, Plaintiff points to no facts linking Arrigo or Guido to Covino’s alleged misconduct
towards Plaintiff in any way, shape, or form. No facts are alleged suggesting that either Arrigo
or Guido knew anything about Plaintiff or Covino’s relationship with her, let alone any action or
inaction on their parts affirmatively linking them to Covino’s behavior in the sense of
encouragement, condonation, acquiescence, or gross negligence.

B. Plaintiff Fails to State Claims under the Massachusetts Tort Claims Act, G.L. c. 258

i. Against the City

Plaintiff's claims for defamation and intentional infliction of emotional distress (Counts
III and V, respectively) constitute claims for damages under the Massachusetts Tort Claims Act,
G.L. c. 258.4 and are thus subject to the provisions of the Act, including the presentment
requirements of § 4 and the specific exemptions enumerated in § 10. These claims fail to state
claims against the City of Revere due to lack of presentment as well as the City’s immunity from
liability for intentional torts under G.L. c. 258, § 10(c).

a. Failure of Presentment

G.L. c. 258, § 4 requires that a “civil action shall not be instituted against a public
employer on a claim for damages under this chapter unless the claimant shall have first presented
his claim in writing to the executive officer of such public employer within two years after the

date upon which the cause of action arose.” Harrington vy. City of Attleboro, 172 F. Supp. 3d

 

* The Massachusetts Tort Claims Act provides “a comprehensive statutory scheme . . .
govern[ing] the liability of public employers in tort actions.” Morrissey v. New England
Deaconess Ass’n— Abundant Life Communities, Inc., 458 Mass. 580, 590 (2010).

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337, 347 (D. Mass. 2016) (“All MTCA actions are subject to the presentment requirement unless
specifically exempted by statute.”).
Presentment is . . . a statutory condition precedent to
recovery under G. L. c. 258[,] [and] [i]n cases in which the issue is
not raised until the time has elapsed during which presentment
properly could have been made, the plaintiff's complaint is subject

to dismissal on a motion made under Mass. R. Civ. P. 12(b)(6) for
failure to state a claim upon which relief can be granted.

Vasys v. Metropolitan Dist. Com., 387 Mass. 51, 55-56 (1982). “If proper presentment is not
made within the time allotted, the plaintiffs complaint is subject to dismissal[,] [and] [t]he
public employer need not show prejudice to rely upon the plaintiff's failure of presentment.”
Spring v. Geriatric Auth. of Holyoke, 394 Mass, 274, 283 (1985) (citation omitted).

Here, Plaintiff failed to make presentment of her c. 258 claims within two years of the
date upon which the alleged causes of action arose, or at any time, and thus these claims must be
dismissed for this reason alone.

b. Immunity Under G.L. c. 258, § 10(c)

Under the Massachusetts Tort Claims Act, G.L. c. 258, the City of Revere is immune

from suit for any claim arising out of an intentional tort. Under § 10 of the Act,
[t]he provisions of sections one to eight, inclusive, shall not apply
to: .. . (c) any claim arising out of an intentional tort, including
assault, battery, false imprisonment, false arrest, intentional mental
distress, malicious prosecution, malicious abuse of process, libel,
slander, misrepresentation, deceit, invasion of privacy, interference

with advantageous relations or interference with contractual
relations|. ]

G.L. c, 258, § 10(c). Consolo v. George, 835 F. Supp. 49, 52 (D. Mass. 1993) (“It is well settled
law that pursuant to the Massachusetts Tort Claims Act, a public employer is immune from
liability for the intentional torts of its public employees.”). See Nelson v. Salem State College,

446 Mass. 525, 537 (2006) (“Intentional torts are expressly exempted from the [Massachusetts

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Tort Claims] Act, and therefore a public employer cannot be sued for its employee’s
intentionally tortious conduct.”). Also, the use of the word “including” immediately preceding
the listing of intentional torts in § 10(c) indicates that the “list is representative, not all-inclusive,
and that any intentional tort is covered by § 10(c).” Barrows v. Wareham Fire Dist., 82 Mass.
App. Ct. 623, 626 (2012).

Here, Plaintiff's claims for defamation® and intentional infliction of emotional distress are
explicitly identified in § 10(c) as intentional torts for which the City of Revere is exempt from
liability, and therefore fail to state claims against the City and must be dismissed.

2. Against Arrigo and Guido

a. Defamation

Plaintiff asserts a claim for defamation in Count III, alleging that while “Defendants
knew Plaintiff had not violated any laws nor committed any crime” they “indicated to Plaintiff's
employer and others that she had committed criminal acts.”

Here, Plaintiff relies on imagined facts, wildly claiming without any factual support
whatsoever that the “Defendants knew well that Covino was wrongly engaged in efforts to have
Plaintiff criminally charged, to cause the loss of her career and to destroy her life, and all knew
Plaintiff was not the perpetrator of domestic violence or abuse of Covino.”® (Complaint, 913).

No facts are alleged as to how or why Mayor Arrigo or former Chief of Police Guido could

 

* Defamation encompasses the torts of libel and slander. Boyle v. Barnstable Police Dep't, 818
F, Supp. 2d 284, 307 (D. Mass. 2011) (quoting Draghetti v. Chmielewski, 416 Mass. 808, 812
n.4 (1994)).

° It is difficult to square these unsubstantiated accusations with Rule 11’s admonition that by
submitting a pleading counsel certifies that to the best of his or her knowledge, information, and
belief the factual contentions contained therein have, or will likely have, evidentiary support.
Plaintiff's counsel was cautioned about her unsubstantiated rhetoric by Judge Stearns in his
Memorandum and Order in Beasley v. Lowe’s Home Centers, Inc., No. 15-12665-RGS, 2017
WL 1739172, at *6 (D. Mass. May 3, 2017) (“Plaintiff's counsel, however, should take mind of
her duty under Rule 11 to support her rhetoric and allegations with competent evidence or
actionable wrongdoing.”).

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possibly have had any knowledge of Covino’s personal relationship with Plaintiff or his alleged
misconduct towards her, or how they could know whether Plaintiff or Covino, if either of them,
was abusive towards the other. The allegation that Covino drafted a Revere Police Department
incident report in which he allegedly made false claims against Plaintiff is far from sufficient,
standing alone, to impute such knowledge to Arrigo or Guido.’ Apart from these conclusory
assertions, the Complaint lacks any facts that City of Revere officials had any knowledge of or
conspired or were complicit in any of Covino’s alleged misconduct towards Plaintiff, and thus
fails to give rise to plausible claims against these parties for defamation.
Bb. Intentional Infliction of Emotional Distress

Plaintiff alleges in Count V that the “Defendants’ acts and omissions constituted
outrageous conduct and intentionally inflicted emotional distress upon Plaintiff.” To set forth a
sufficient claim for intentional infliction of emotional distress, a plaintiff must allege that (1) the
defendants intended to inflict emotional distress or should have know that emotional distress was
the probable effect of their conduct, (2) the defendants’ conduct was extreme and outrageous, (3)
the defendants’ actions caused the plaintiff's distress, and (4) the plaintiffs distress was so
severe “that no reasonable person could be expected to endure it.” Baxter v. Conte, 190 F. Supp.
2d 123, 130 (D. Mass. 2001) (quoting Tefrault v. Mahoney, Hawkes & Goldings, 425 Mass. 456,
466 (1997). “Extreme and outrageous” conduct is conduct that goes “beyond all possible bounds
of decency” and “utterly intolerable in a civilized community.” Therrien v. Hamilton, 849 F.
Supp. 110, 116 (D. Mass. 1994) (quoting Agis v. Howard Johnson Co., 371 Mass. 140, 145

(1976).

 

’ That the report was authored by Covino naming himself as victim, reporting officer, and
supervisor approving the report (Complaint, § 12) strongly suggests that the report was created
for his own personal reasons — more akin to a “memo to file” than an official police report - and
was not intended to be available to other police personnel or city officials.

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Plaintiffs vague assertions of misconduct and unspecified acts and omissions on the part
of the municipal officials obviously fall well short of this high standard and fail to state claims
against Arrigo or Guido as a matter of law.

C. Plaintiff Fails to State Claims Under G.L. c. 12, §§ 11H & 111

de Against the City

Plaintiff fails to state a claim against the City of Revere for violation of her rights under
the Massachusetts Civil Rights Act (MCRA), G.L. c. 12, §§ 11H & 111, because a municipality
is not considered a person under the Act. Saldivar v. Pridgen, 91 F. Supp. 3d 134, 139 (D. Mass.
2015); Howcroft v. City of Peabody, 51 Mass. App. Ct. 573, 591-592 (2001) (“[A] municipality
is not a ‘person’ covered by the Massachusetts Civil Rights Act (MCRA), G.L. c. 12, §§ 11H,
111.”).

2 Against Arrigo and Guido

To state a claim under the MCRA against the municipal officials, Plaintiff must show that
(1) her exercise or enjoyment of rights secured by the Constitution or laws of either the United
States or the Commonwealth (2) were interfered with, or attempted to be interfered with, and (3)
that the interference or attempted interference was by threats, intimidation, or coercion. Farrah
ex rel. Estate of Santana v. Gondella, 725 F. Supp. 2d 238, 247 (D. Mass. 2010). “In deference
to a legislative concern that the MCRA not be interpreted to create ‘a vast constitutional tort,’ the
Act is ‘explicitly limited’ to situations ‘where the derogation of secured rights occurs by threats,
intimidation or coercion’ involving a specific threat of harm ‘directed toward a particular
individual or class of persons.’” Jd. (quoting Bally v. Northeastern Univ. 403 Mass. 713, 718-
719 (1989)). In this context, “[a] ‘[t]hreat’ . . . involves the intentional exertion of pressure to

make another fearful or apprehensive of injury or harm. ‘Intimidation’ involves putting in fear

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for the purpose of compelling or deterring conduct. . . . [‘Coercion’ involves] the application to
another of such force, either physical or moral, as to constrain [a person] to do against his will
something he would not otherwise have done.” Farrah ex rel. Estate of Santana v. Gondella,
725 F. Supp. 2d at 247 (quoting Planned Parenthood League of Mass., Inc. v. Blake, 417 Mass.
467, 474 (1994)).

Here again, apart from conclusory assertions and the reference to the “threats,”
“intimidation,” and “coercion” buzzwords amidst her various claims, the Complaint provides no
factual support that Mayor Arrigo or former Chief of Police Guido had any knowledge
whatsoever of Covino’s relationship with Plaintiff or his alleged wrongful conduct towards her,
let alone threatened, coerced, or intimidated her in any way.

D. Conspiracy Under 42 U.S.C. § 1985

In Count VII of her Complaint, Plaintiff claims that she was the victim of a conspiracy to
deprive her of her constitutional rights under 42 U.S.C. § 1985(2)&(3). Plaintiff alleges that (1)
she was “intimidated, threatened, and coerced not to offer testimony or assert her position in a
case in which she was a witness and a party by the misconduct of two or more of the
Defendants,” and (2) that “two or more of the Defendants conspired for the purpose of impeding,
hindering, obstructing, or defeating, the due course of justice in the Commonwealth of
Massachusetts, with intent to deny to Plaintiff the equal protection of the laws.” (Complaint, §
45).

The first part of Plaintiffs allegation falls under the first clause of § 1985(2) which
“imposes liability on persons who conspire to deter, intimidate, or otherwise interfere with
parties, witnesses, and jurors in any ‘court of the United States.” Unitt vy. Helsel, No. 13-11926-

JLT, 2013 WL 5437338, at *3 (D. Mass. Sept. 24, 2013) (emphasis in original); Knowlton v.

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Shaw, 704 F. 3d 1, 11 n.15 (1st Cir. 2013) (“The first clause of 1985(2) covers conspiracies to
interfere with justice in the federal courts.”). Since Plaintiffs alleged conspiratorial interference
has to do with proceedings in a Massachusetts state court, she fails to state a claim under the first
clause of § 1985(2). In any event, the Complaint fails to allege how she or any witness was
interfered with or how the alleged conspirators accomplished such interference.
The second clause of § 1985(2), as well as § 1985(3), covers conspiracies to interfere

with justice in the state courts “with intent to deny any citizen the equal protection of the laws.”

To state a claim under §1985(3) a plaintiff must allege the

existence of (1) a conspiracy, (2) a conspiratorial purpose to

deprive a person or class of persons, directly or indirectly, of the

equal protection of the laws or of equal privileges and immunities

under the laws, (3) an overt act in furtherance of the conspiracy,

and (4) either (a) an injury to person or property, or (b) a
deprivation of a constitutionally protected right or privilege.

Aulson y. Blanchard, 83 F. 3d 1, 3 (1“ Cir. 1996) (citing Griffin v. Breckenridge, 403 U.S. 88,
103 (1971)). A plaintiff may recover under this section “only when the conspiratorial conduct of
which he complains is propelled by ‘some racial, or perhaps otherwise class-based, invidiously
discriminatory animus.” /d. (quoting Griffin, 403 U.S. at 102). Regarding this last requirement,
the plaintiff “must allege facts showing that (1) the defendants conspired against [him] because
of [his] membership in a class, and (2) the criteria defining the class are invidious.” Jd. at 4.
Because the language of this part of the statute is directed toward the equal protection of the
laws, a plaintiff must allege a “class-based, invidiously discriminatory animus” to state a
plausible § 1985(2) claim. Knowlton v. Shaw, 704 F. 3d at 11-12 (quoting Griffin, 403 U.S. at
102). Stating a claim under § 1985 requires “plausible allegations of an agreement among the
conspirators to violate a plaintiff's rights (or factual allegations that allow the reasonable
inference of such an agreement).” Hudson v. MacEachern, 94 F. Supp. 3d 59, 70 (D. Mass.

2015). Further, “allegations of conspiracy must .. . be supported by material facts, not merely

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conclusory statements” and such claims of conspiracy are subject to dismissal where the
allegations “neither elaborate [ | nor substantiate[ ][the] bald claims that certain defendants
‘conspired’ with one another.” /d. (quoting Slotnick v. Garfinkle, 632 F.2d 163, 165-66 (1st Cir.
1980)).

Here, Plaintiff fails to allege any racial or otherwise class-based invidiously
discriminatory animus underlying the alleged conspiratorial conduct of City officials, the only
reference to her gender or ethnicity being in the context of her equal protection claim
(Complaint, {{ 18, 29). Moreover, other than simply reciting that she was conspired against, the
Complaint is devoid of any facts tending to show the existence of a conspiracy among Covino,
Arrigo, and Guido.

Accordingly, Plaintiffs 42 U.S.C. §1985 conspiracy claims against the Municipal
Defendants fail to state a claim as a matter of law and must be dismissed.

E. Refusal to Prevent Wrongs Under 42 U.S.C. § 1986

Plaintiff asserts in Count VIII a claim under 42 U.S.C. § 1986, which creates a right of
action against a party who, “having knowledge that any of the wrongs” in furtherance of a
conspiracy prohibited by § 1985 “are about to be committed,” and “having the power to prevent
or aid in preventing the commission of the same, neglects or refuses to do so.” This claim was
dead on arrival, as the statute provides for a one-year limitations period, stating that “no action
under the provisions of this section shall be sustained which is not commenced within one year
after the cause of action has accrued.” Since the Complaint in this action was filed on January
29, 2020, any claim under § 1986 must have accrued at some point on or after January 29, 2019,
to be timely. See Salcedo v. Town of Dudley, 629 F. Supp. 2d 86, 97, 99 (D. Mass. 2009).

According to the allegations in the Complaint, Covino’s conduct in obtaining the Abuse

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Prevention Order against Plaintiff and making false and misleading claims about her to her
employer and Virginia investigators causing her to lose her job, and necessarily any alleged
conduct on the part of the other Defendants in assisting or conspiring with Covino, all occurred
well before January 29, 2019. Thus, any claim against the Defendants under § 1986 is time-
barred.®
Il. CONCLUSION

WHEREFORE, for the reasons set forth above, the Municipal Defendants respectfully

request that the Court enter an order dticniissine all of the claims against them on the grounds that

they fail to state claims upon which relief can be granted.

CITY OF REVERE, BRIAN M. ARRIGO, and
JAMES GUIDO,
By their attorneys,

/s/_ Daniel E. Doherty
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8 Plaintiff's counsel saw her § 1986 dismissed due to the one-year limitation period in Salcedo.

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CERTIFICATE OF COMPLIANCE WITH LR. 7.1

I, Daniel E. Doherty, Assistant City Solicitor and counsel of record for the Defendants,
City of Revere, Brian M. Arrigo, and James Guido, hereby certify that, pursuant to L.R.
7.1(a)(2), I conferred with Plaintiff's counsel by telephone on Friday, March 12, 2012. and

attempted in good faith to resolve or narrow the issues set forth in the accompanying motion.

/s/ Daniel E. Doherty
Daniel E. Doherty

CERTIFICATE OF SERVICE

I, Daniel E. Doherty, Assistant City Solicitor and counsel of record for the Defendants,
City of Revere, Brian M. Arrigo, and James Guido, hereby certify that I have this day
electronically filed the foregoing document with the Clerk of the Court using the CM/ECF

system, and that copies will be sent electronically to the registered participants as identified on

the Notice of Electronic Filing (NEF).

/s/ Daniel E. Doherty
Daniel E. Doherty

Dated: March 15, 2021

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